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                 Exhibit C
Mark Wittstadt Financial Impact Statement
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Barron, Lynsey (USAGAN)

From:                                Phillips, Russell (USAGAN)
Sent:                                Wednesday, December 26, 2018 1:29 PM
To:                                  alexander_moody@ganp.uscourts.gov
Cc:                                  Barron, Lynsey (USAGAN); etg@gsllaw.com; Kristen Novay; rnl@gsllaw.com
Subject:                             Hardwick — Mark Wittstadt’s restitution claim
Attachments:                         Full copy.pdf; ATT00001.htm




Alex,

Here is the information that I just received from Mark Wittstadt in support of his restitution claim.

Russell

Begin forwarded message:

          From: "Mark Wittstadt" <MWittstadt@ltxcompanies.com>
          To: "Phillips, Russell (USAGAN)" <RPhillips@usa.doj.gov>
          Subject: Judgment against Hardwick

          Russell:

          Attached please find the following documents to prove damages against Hardwick

          Acquisition Agreement between Wittstadt & Wittstadt, PA, Rod and Me and MHS

          Please see section 4.4 of the agreement‐ Page 6 of the PDF‐ please see indemnification – section 13.2
          page 14 of the pdf‐ indemnified us for the operation of the Business accruing after the closing

          Please see page 16 of the PDG where Nat Hardwick personally joined in the execution and delivery of
          the agreement for the purposes of representing and warranting to WW that the provisions of Article 4
          are true and correct in all material respects. Hardwick intentionally lied to us about the manner in which
          the escrow accounts where maintained. Clearly he had stolen from the accounts in 2007 in relation to
          HomeBanc. Had he told me about what he did to cover the HomeBanc failure, I would have never joined
          this firm. Clearly had I known of the operation of the Business after the closing we would never had
          agreed to the future transaction taking equity into a business that had a practice of stealing client funds.
          I would never had given up my employment contract.


          Please see my employment agreement starting at page 50 of the attached PDF – at page 53 of the
          employment agreement, Hardwick agreed that I would be entitled to 6 Million Dollars if I was wrongfully
          terminated. Basically saying my firm in 2008 was worth 6 million to me.

          My income reported on my Federal Returns has been decimated

          2013‐ $2,295,112.00
          2014‐$876,683.00
          2015‐ $369,239.00

                                                               1
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2016‐ $106,781.00
2017‐ $172,758.00

I cannot located 2010, 2011, and 2012‐ however I can tell you that I made in excess of 1.4 million each
year.

Finally‐ As you know I directed that the firm withhold and pay to the IRS and the State of Maryland in
excess of $500K – despite assurances from Asha M. that money was never sent. When it was discovered
in the Fall of 2014, the firm made a payment to the IRS, The State of Maryland and Ga to cover the
money that was stolen from me. I am now in the middle of a fight with the IRS and the Liquidating Trust
over that payment.

I have incurred tens of thousands of dollars personally in attorney fees, my reputation in my practice of
law with the Financial Institutions in the Country has been destroyed.

I have received threats from Hardwicks friends – the phone call in October

My valuable lawfirm is gone.

Although I don’t believe that Hardwick will ever pay me the money he has costs me, It should be fairly
easy for a Judge to say by a preponderance of evidence that Hardwick owes me at minimum
$6,000,000.00 – Frankly I truly believe that I have been damaged in the amount of 15 million



Mark H. Wittstadt, Esquire
Partner




    The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




www.ltxcompanies.com


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exclusively for the individual or entity to which it is addressed. This communication may contain
information that is proprietary, privileged or confidential or otherwise legally exempt from disclosure. If
you are not the named addressee, you are not authorized to read, print, retain, copy or disseminate this
message or any part of it. If you receive this message in error, please notify the sender immediately by
email and delete all copies of the message.

This firm only accepts wires in connection with all closings- no cashiers checks or
personal checks will be accepted.

IMPORTANT NOTICE: Never trust wiring instructions sent via e‐mail. Cyber criminals are spoofing e‐
mail accounts and sending e‐mails with fake wiring instructions. These e‐mails are convincing and
                                                                                                                                                                 2
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sophisticated. Always independently confirm wiring instructions in person or via telephone to a
trusted and verified phone number. Never wire money without verifying wiring instructions.

Please vist our website for trusted phone numbers to verify all wire instructions received from this
firm




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